              IN THE UNITED STATES DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF NORTH CAROLINA


 United States of America,
                                                    No. 12-cv-1349
                        Plaintiff;
         v.                                         UNITED STATES’ MOTION TO SEAL
 Terry Johnson, in his official capacity as
 Alamance County Sheriff,
                        Defendant.



                       UNITED STATES’ MOTION TO SEAL
       On April 23, 2013, the Court entered the Parties’ Joint Confidentiality and
Protective Order, ECF No. 18 (“Confidentiality Order”). Pursuant to that Order, the
United States now moves this Court to file under seal two exhibits attached to its Reply in
Support of its September 17, 2013, Motion to Seal, ECF No. 49, and to accept the filing
of a redacted version of the United States’ Reply, ECF No. 64.
       The United States seeks to seal the following documents: Exhibit A, a declaration
from Dr. Laura Roselle; and Exhibit B, two news articles identifying Dr. Roselle’s
daughter. These documents contain personally identifiable information and are
designated “confidential” pursuant to the Confidentiality Order, ¶ 3(b).
       In addition, the United States asks the Court to accept the filing of a redacted
version of the United States’ Reply in Support of its Motion to Seal, ECF No. 64, because
the Reply cites information that has been designated confidential.
       According to the procedures contained in the Protective Order, see id. at ¶ 8, the
United States respectfully requests that this Court file the above referenced materials
under seal.




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Respectfully submitted,


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                             CERTIFICATE OF SERVICE

       I certify that the foregoing United States’ Motion to Seal was served through the
electronic filing service on October 25, 2013, which will provide notice to all registered
parties.



                                                 s/ Michael J. Songer
                                                 MICHAEL J. SONGER
                                                 Attorney for the United States




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